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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEVADA

                                            ***

 ROBERT EARL SPEARS, JR., an individual;            Case No. 3:23-cv-00481-LRH-CLB
 and GUILLERMO LORENZO OLVERA, an
 individual,
                                                    MINUTE ORDER
                Plaintiffs,

        v.                                          January 31, 2024

 USAA GENERAL INDEMNITY
 COMPANY, an unincorporated entity and/or a
 reciprocal insurance exchange with members
 residing in the State of Nevada; DOES 1
 through 10, and ROE CORPORATIONS 1
 through 20, inclusive,

                Defendants.



PRESENT: THE HONORABLE LARRY R. HICKS, UNITED STATES DISTRICT JUDGE
DEPUTY CLERK:          NONE APPEARING                 REPORTER: NONE APPEARING
COUNSEL FOR PLAINTIFF(S):                     NONE APPEARING
COUNSEL FOR DEFENDANT(S):                     NONE APPEARING

MINUTE ORDER IN CHAMBERS:
       Before the Court is Plaintiff’s status report regarding dismissal (ECF No. 15) requesting
an additional 30 days to file their joint stipulation for dismissal with prejudice and proposed order
as the Parties are currently engaged in settlement negotiations.
       Good cause appearing, IT IS ORDERED that the Parties shall file a joint stipulation for
dismissal with prejudice and proposed order no later than February 29, 2024.
       IT IS SO ORDERED.



                                                      __________________________________
                                                      LARRY R. HICKS
                                                      UNITED STATES DISTRICT JUDGE
